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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                       GAINESVILLE DIVISION                                   FILED IN
                                                                                         CLERK'S OFFICE
                                                                                          -
                                                                                              Gainesville
  JEANNE WEINSTEIN, Individually                                                 AUG 0 8
  and on behalf of all others similarly                                                  2019
                                                                         JAMES N.
  situated under 29 USC 216(b)                                          By:              HATTEN,
                                                                                                     Clerk
                    Plaintiffs,                                                               Deputy Clerk


  V.                                                    No. 2:19-cv-00105-RWS

 440 CORP. d/b/a THE RIDGE GREAT
 STEAKS & SEAFOOD AND
 STEPHEN CAMPBELL
                 Defendants.



                                      ORDER
       Having considered the Plaintiffs' Motion for Leave to Exceed Page Limit,

which is unopposed, the Court is of the opinion that the Motion should be, and is

hereby, GRANTED.

       It is, therefore, ORDERED that Plaintiffs may file a reply in support of

Plaintiffs' Motion for Conditional Certification [Doc. No. 14] with a page limit not to

exceed twenty (25) pages.

Signed this (F.,4 day of                       ,2019.




                                          -UNITED TATES DI            4 CT JUDGE
